            CASE 0:23-cv-01527-NEB-JFD Doc. 84 Filed 09/03/24 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

 Melinda and Mark Loe, et al.,                                Case No. 23-cv-1527 (NEB/JFD)

                         Plaintiffs,
                                                                     DEFENDANTS’
         v.                                                        LR 5.6 STATEMENT

 Willie Jett, et al.,

                 Defendants.
________________________________________________________________________

       In accordance with D. Minn. Local Rule 5.6, Defendants state as follows:

       1.       Pursuant to D. Minn. LR 5.6(d)(1)(A)(ii), the following entire documents

constitute or contain information designated as confidential, the redaction of which is

impracticable:

                a.      Exhibits 6, 7, 9, 10, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24,
                        25, 26, 27, 28, 29, 30, 31, 32, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43,
                        44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60, 61,
                        62, 63, 64, 65, 66, 67, 68, 71, 72, 73, 74, 75, 76, 79, 80, 86, 87, 88,
                        89, 90, 95, 97, 98, 99, 100, 101, 102, 103, 104, 105, 106, 107, 108,
                        109, 110, and 113 to the Declaration of Jeff Timmerman in Support
                        of Defendants’ Motion for Summary Judgment.

       2.       Pursuant to D. Minn. LR 5.6(d)(1)(A)(i), the following document partially

contains information designated as confidential, an unredacted version of which is filed

under seal and a redacted version of which is publicly filed:

                a.      Memorandum of Law in Support of Defendants’ Motion for Summary
                        Judgment.




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               CASE 0:23-cv-01527-NEB-JFD Doc. 84 Filed 09/03/24 Page 2 of 2




Dated: September 3, 2024                    KEITH ELLISON
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                                            State of Minnesota

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